                                                            Case 2:17-cv-06972-JGB-KK Document 36 Filed 05/24/21 Page 1 of 5 Page ID #:666


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                                                              2    LAW OFFICE OF ESPERANZA CERVANTES ANDERSON
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                                                              3    Pasadena, California 91104
                                                              4    Tel.: (626) 219-6773
                                                                   Fax: (626) 389-8911
                                                              5
                                                              6    Attorney for Plaintiff Relator
                                                                   FRANK ADOMITIS
                                                              7
                                                              8                       UNITED STATES DISTRICT COURT
                                                              9               FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                             10
E SPERANZA C ERVANTES A NDERSON




                                                             11    UNITED STATES OF AMERICA                         Case No. CV 17-06972 JGB (KKx)
                                                             12    ex rel. FRANK ADOMITIS, an
                                                                   individual,                                      Hon. Jesus G. Bernal
                                                             13
                                  P ASADENA , C ALIFORNIA




                                                                                Relator,
                                                             14                                                     REPLY BRIEF IN SUPPORT
                                                             15          v.                                         OF MOTION FOR ORDER
                                                                                                                    PERMITTING WITHDRAWAL
                                                             16    OJAI VALLEY COMMUNITY                            LAW OFFICE OF ESPERANZA
                                                                   HOSPITAL; DOES 1 through 20,                     CERVANTES ANDERSON;
     OF




                                                             17
                                                                   inclusive,
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                                                                                                                    REPLY DECLARATION OF
                                                             18                                                     ESPERANZA CERVANTES
                                                                                Defendants.
                                                             19                                                     ANDERSON
                                                             20                                                   Date:          June 7, 2021
                                                             21                                                   Time:          9:00 a.m.
                                                                                                                  Location:      Courtroom 1 via
                                                             22                                                                  telephonic hearing
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                                                                           Reply Brief in Support of Mtn to Permit Withdrawal of Attorney; Declaration
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                                                              1                  MEMORANDUM OF POINTS & AUTHORITIES
                                                              2         Plaintiff and Relator Frank Adomitis (“Relator”) has failed to show why the
                                                              3   motion to withdraw of Esperanza Cervantes Anderson and the Law Office of
                                                              4   Esperanza Cervantes Anderson (“Attorney”) should not be granted. Since Attorney
                                                              5   filed the motion, the relationship has gotten worse. [Declaration of Esperanza
                                                              6   Cervantes Anderson (“Anderson Decl.”), ¶2.] Communication is now impossible.
                                                              7   [Id.] Attorney cannot adequately represent Relator because she cannot
                                                              8   communicate with him. [Id.] Under these circumstances, California Rule of
                                                              9   Professional Conduct 1.16 requires Attorney to withdraw. Esperanza Cervantes
                                                             10   Anderson and the Law Office of Esperanza Cervantes Anderson, therefore,
E SPERANZA C ERVANTES A NDERSON




                                                             11   respectfully request that this Court enter an Order permitting them to withdraw as
                                                             12   attorneys of record for Plaintiff and Relator Frank Adomitis, and for any other relief
                                  P ASADENA , C ALIFORNIA




                                                             13   the Court deems just and proper.
                                                             14
                                                             15    DATED: May 24, 2021.          LAW OFFICE OF ESPERANZA CERVANTES
                                                                                                 ANDERSON
                                                             16
     OF
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                                                             17                                  By: /s/Esperanza Cervantes Anderson______
                                                                                                    Esperanza Cervantes Anderson, Esq.
                                                             18                                     Attorney for Plaintiff/relator
                                                                                                    FRANK ADOMITIS
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                                                              1      REPLY DECLARATION OF ESPERANZA CERVANTES ANDERSON
                                                              2         I Esperanza Cervantes Anderson, declare as follows:
                                                              3         1.       I am an attorney at law, duly authorized to practice law before all of
                                                              4   the courts of the State of California and the United States District Court for the
                                                              5   Central District of California. I am currently counsel of record for Plaintiff and
                                                              6   Relator Frank Adomitis in this matter. I am familiar with the files, pleadings, and
                                                              7   facts of this case and could and would competently testify to the following facts on
                                                              8   the basis on my own personal knowledge. I am submitting this Declaration in
                                                              9   support of my motion to be relieved as Counsel.
                                                             10         2.       Since filing the motion to withdraw on March 24, 2021, the attorney-
E SPERANZA C ERVANTES A NDERSON




                                                             11   client relationship has gotten worse. Communication with Mr. Adomitis has
                                                             12   become impossible. I cannot adequately represent Mr. Adomitis’ interests because I
                                  P ASADENA , C ALIFORNIA




                                                             13   cannot discuss strategy with him verbally or in writing.
                                                             14         I declare, under penalty of perjury under the laws of the United States of
                                                             15   America and the State of California, that the foregoing is true and correct.
                                                             16         Executed on this 24th day of May 2021 at Pasadena, California.
     OF
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                                                                                                              /s/ Esperanza Cervantes Anderson___
                                                                                                              Esperanza Cervantes Anderson
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                                                                                                            PROOF OF SERVICE
                                                              1
                                                                          I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
                                                              2   and not a party to the within action, and my business address is Law Office of Esperanza Cervantes
                                                                  Anderson, 1037 N. Allen Avenue, Pasadena, California 91104 (the "business").
                                                              3
                                                                          On May 24, 2021, I served the following document(s): REPLY BRIEF IN SUPPORT OF
                                                              4   MOTION FOR ORDER PERMITTING WITHDRAWAL LAW OFFICE OF ESPERANZA
                                                                  CERVANTES ANDERSON; REPLY DECLARATION OF ESPERANZA CERVANTES
                                                              5   ANDERSON on the interested parties in this action by placing a true and correct copy thereof enclosed in
                                                                  a sealed envelope addressed as follows:
                                                              6
                                                                                                   SEE ATTACHED
                                                              7
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                                                                                   BY REGULAR U.S. MAIL: I am readily familiar with the business' practice for
                                                              9   collection and processing of correspondence for mailing with the United States Postal Service; such
                                                                  correspondence would be deposited with the United States Postal Service the same day of deposit in the
                                                             10   ordinary course of business. I know that the envelope was sealed and, with postage thereon fully prepaid,
E SPERANZA C ERVANTES A NDERSON




                                                                  placed for collection and mailing on this date, following ordinary business practices, in the United States
                                                             11   mail at Pasadena, California.
                                                             12              X     BY E-MAIL: I sent a true and complete copy of the document(s) described above by
                                                                  facsimile transmission to the e-mail addresses set forth opposite the name(s) of the person(s) set forth on
                                  P ASADENA , C ALIFORNIA




                                                             13   the attached service list.
                                                             14                    BY FEDERAL EXPRESS OVERNIGHT DELIVERY OR OTHER EXPRESS
                                                                  OVERNIGHT SERVICE: I declare that the foregoing described document(s) was(were) deposited on the
                                                             15   date indicated below in a box or other facility regularly maintained by the express service carrier, or
                                                                  delivered to an authorized courier or driver authorized by the express service carrier to receive documents,
                                                             16   in an envelope or package designated by the express service carrier with delivery fees paid or provided for,
     OF




                                                                  addressed to the person(s) on whom it is to be served, at the address as last given by that person on any
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                                                             17   document filed in the cause and served on this office.

                                                             18                   BY PERSONAL SERVICE: I caused such envelope to be delivered by hand to the above
                                                                  address(es).
                                                             19
                                                                                   (State) I declare under penalty of perjury under the laws of the State of California that the
                                                             20   foregoing is true and correct.

                                                             21              X (Federal) I declare that I am employed in the office of a member of the bar of this court at
                                                                  whose direction the service was made.
                                                             22
                                                                          Executed on May 24, 2019 at Pasadena, California.
                                                             23
                                                             24                                                                   _/s/Esperanza Cervantes Anderson_____
                                                                                                                                  Esperanza Cervantes Anderson
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                                                              1                                          SERVICE LIST
                                                              2
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                                                              3     (alexander.birkhold@arentfox.com)            Kent.Kawakami@usdoj.gov
                                                                    ARENT FOX LLP                                Assistant U.S. Attorney
                                                              4     555 West Fifth Street, 48th Floor            United States Attorney's Office
                                                                    Los Angeles, California 90013-1065           Central District of California
                                                              5                                                  300 N. Los Angeles Street, No. 7516
                                                                                                                 Los Angeles, California 90012
                                                              6
                                                                    Frank Adomitis
                                                              7     (franksc@startmail.com)
                                                                    8990 19th Street, #290
                                                              8     Rancho Cucamonga, CA 91701.
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E SPERANZA C ERVANTES A NDERSON




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